                  UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF ALABAMA

In re                                             Case No. 17-32132-DHW
                                                  Chapter 13
TERRENCE JERMAINE BELSER,
        Debtor.


                ORDER DENYING CONFIRMATION
        AND CONDITIONALLY DISMISSING BANKRUPTCY CASE

       The Chapter 13 plan filed by the debtor came on for confirmation hearing on
November 27, 2017. Republic Finance objected to confirmation. For the reasons
stated from the bench in open court, it is

      ORDERED that the creditor’s objection to confirmation is SUSTAINED and
confirmation of the plan is DENIED. It is further

       ORDERED that that this bankruptcy case is DISMISSED effective 20 days
from the date of this order unless the debtor amends the plan to provide $1,875.00
as the secured claim for Republic Finance.

        Done this 28th day of November, 2017.



                                            Dwight H. Williams, Jr.
                                            United States Bankruptcy Judge


c: Debtor
Richard D. Shinbaum, Attorney for Debtor
Richard C. Dean, Attorney for Republic Finance
Sabrina L. McKinney, Trustee
All Creditors
